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             EXHIBIT B
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                DECLARATION OF

I,                                , declare:
     1. My name is                                 . I was born in Nicaragua. I am 2 years old
        and currently detained at El Valle Detention Center in Raymondville, Texas.

     2. I was previously held in ICE custody in Aurora, Colorado, transferred to East Hidalgo
        Detention Center, and placed on a removal flight but then returned by the U.S.
        government.

     3. On Friday, March 14, 2025, I and other detained noncitizens were told to get ready to be
        deported to our home country. We got ready and lined up but were told that there were
        issues with the flight and that we would be deported the next day.

     4. On the morning of Saturday, March 15, guards told us we would be deported to our home
        country. Later, I asked a female guard for the time, and she told me it was almost 2:30
        PM. Around this time, we were transferred to large buses and driven to what appeared to
        be a military air base. The buses included other detained immigrants from Venezuela and
        El Salvador. I was the only Nicaraguan.

     5. From what I could see, there were a total of four planes on the tarmac. Three were used to
        transport the immigrants. I was aboard one of the planes, with officers standing along the
        walkway. I could see the time on their watches and heard the first flight take off at around
        6:30 PM. A little later, at around 7:15 PM, I heard the second plane take off. The plane I
        was on included immigrants from El Salvador and Venezuela. I believe it took off at
        around 7:50-8:00 PM.

     6. The flight that I was on first landed in another country. I raised the window blind slightly
        and saw officers in uniforms with a blue flag. The plane remained in that country for
        approximately an hour and a half to two hours.

     7. The plane then departed, and we were in the air for approximately 30-45 minutes until we
        landed in El Salvador. U.S. and Salvadoran officers started disembarking people from the
        plane and placing them in buses. A Salvadoran official was wearing a hat with the
        country’s flag and called for Salvadoran’s first. Everyone was scared and some people
        had to forcibly be removed from the plane. I was removed from the plane, questioned
        about my citizenship, and shortly after, told to sit on the floor next to the stairs of one of
        the planes. Eight other detained women were also separated and were seated next to me. I
        was able to speak to them and hear their accent. One of them told me they were
        Venezuelan.
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       8. I overheard a Salvadoran official tell an ICE officer that the Salvadoran government
          would not detain someone from another Central American country because of the conflict
          it would cause. I also heard him say that they would not receive the females because the
          prison was not for females and females were not mentioned in the agreement. I then saw
          the ICE officer call someone, and after the call, I overheard him saying we had to be sent
          back.

       9. Except for what appeared to be executives in suits, everyone returned on one flight,
          including the eight Venezuelan women and U.S. officials who were on the other planes.
          We arrived at the same airport in South Texas on Sunday, March 16 at around 6:45 AM.
          The executives flew separately in a jet for about 15-20 people.

The following declaration has been read to me in Spanish, and I declare under penalty of perjury
that the foregoing is true and correct to the best of my knowledge and recollection.

Executed this 21st day of March 2025,



_/s/                                  ______________




I, Katiana Gonzalez, am fluent in English and Spanish, and I certify that I verbally translated this
declaration to                               from English to Spanish truthfully and accurately to
the best of my abilities.                   confirmed that it accurately reflected his statements.

Executed this 21st day of March 2025,



_/s/ Katiana Gonzalez______________________
Katiana Gonzalez
